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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT


JO LYNN WILSON                                                 :
                                                               :
         Plaintiff                                             :                 CIVIL ACTION NO.:
                                                               :                 3:15-CV-00207-DFM
vs.                                                            :
                                                               :
YALE UNIVERSITY                                                :
                                                               :
         Defendant                                             :                 JUNE 30, 2016

        REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

         The defendant hereby replies to the plaintiff’s brief in opposition to motion for

summary judgment. The plaintiff argues that the March 29, 2012 note from a physician at

Family & Internal Medicine of Dixwell Avenue and the March 29, 2012 medical evaluation

form from Hospital of St. Raphael Occupational Health Plus,1 along with the plaintiff’s

deposition testimony, create an issue of fact precluding summary judgment in favor of the

defendant. (Br. In Opp. to Mot. for Summ. J., at p. 1.) The defendant respectfully disagrees.

I.       The Plaintiff Cannot Establish a Prima Facie Case of Disability Discrimination.

         The plaintiff does not address the defendant’s argument that she cannot establish a

prima facie case of disability discrimination under the Americans with Disabilities Act or the


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  The defendant did not submit copies of these documents because they are the plaintiff’s medical records and it
was felt that they should not be made part of the public record. Additionally, the defendant does not dispute
receiving those documents or the contents thereof, and therefore felt that it was unnecessary to submit them to the
Court. The plaintiff does not claim that any of the defendant’s representations about those documents is false.
Regardless of the medical condition addressed in the medical evaluation form from Hospital of St. Raphael
Occupational Health Plus, it is undisputed that the defendant received information stating that the plaintiff could
return to work on April 2, 2012, which confirms that the defendant’s policy permitted the termination of the
plaintiff’s employment.
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Rehabilitation Act because she cannot prove that she was terminated because of her disability.

(Memo. of Law in Supp. of Def.’s Mot. for Summ. J., at pp. 4-7.) The plaintiff’s deposition

testimony establishes that the plaintiff has no evidence suggesting that the defendant

terminated her because of her disability. Instead, she relies solely on her subjective belief that

the reason for her termination was disability discrimination. This is insufficient to establish a

prima facie case of disability discrimination. See, Chen v. City Univ. of N.Y., 805 F.3d 59, 75

(2d Cir. 2015); Christensen v. Bristol-Myers Squibb Co., 1994 U.S. Dist. LEXIS 12149, *20

(S.D.N.Y. Aug. 30, 1994), aff’d, 57 F.3d 1063 (2d Cir. 1995); Bright v. Coca Cola

Refreshments USA, Inc., 2014 U.S. Dist. LEXIS 155565 *57 (E.D.N.Y. Nov. 3, 2014); Oliver

v. Waterbury Bd. of Educ., 2014 U.S. Dist. LEXIS 38555 *41-42 (D. Conn. Mar. 24, 2014);

Sethi v. Narod, 12 F. Sup. 3d 505, 536 (E.D.N.Y. 2014); Blanchard v. Stone Safety Corp.,

1991 U.S. Dist. LEXIS 1992, at *5 (D. Conn. Jan. 11, 1991).

       Opposing the defendant’s motion for summary judgment, the plaintiff has not offered

any evidence, other than her subjective belief, that the defendant terminated her because of her

disability. She admitted at her deposition that that neither Megan Smith, DrPH, MPH nor

Heather Howell said or did anything to suggest that they were discriminating against her.

(Depo. Jo Lynn Wilson March 2016, at pp. 55-58.) Both Dr. Smith and Ms. Howell have

averred that the plaintiff was not terminated because of her heart condition. See, Affidavits of

Dr. Smith and Ms. Howell. Therefore, the plaintiff has failed to establish a prima facie case of




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disability discrimination and the defendant’s motion for summary judgment should be granted

on this ground.

II.      The Plaintiff Has Not Produced Evidence Showing that the Real Reason for Her
         Termination Was Discrimination.

         Assuming arguendo that the plaintiff was able to establish prima facie cases of her

claims for disability discrimination and failure to accommodate, the defendant’s motion for

summary judgment should still be granted because the plaintiff has not proffered any evidence

suggesting that the real reason for her termination was disability discrimination. The plaintiff

argues that the plaintiff’s deposition testimony and the two medical notes delivered to the

defendant on March 29, 2012 demonstrate that the defendant’s reason for terminating the

plaintiff, i.e., her absence from work for five consecutive days without contacting her

supervisor, was false. (Br. in Opp. to Mot. for Summ. J., at p. 6.) Even assuming the truth of

this assertion, the plaintiff’s burden is not satisfied. She must prove that the real reason for her

termination was intentional discrimination. See, St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502,

515 (1993) (“[A] reason cannot be proved to be ‘a pretext for discrimination’ unless it is

shown both that the reason was false, and that discrimination was the real reason.”) (Emphasis

in original.)

         It is well known that “the ultimate burden of persuading the trier of fact that the

defendant intentionally discriminated against the plaintiff remains at all times with the

plaintiff.” (Internal quotations omitted.) Reeves v. Sanderson Plumbing Prods., 530 U.S. 133,

143 (2000). “[T]he factfinder’s rejection of the employer’s legitimate, nondiscriminatory

reason for its action does not compel judgment for the plaintiff. The ultimate question is




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whether the employer intentionally discriminated, and proof that the employer’s proffered

reason is unpersuasive, or even obviously contrived, does not necessarily establish that the

plaintiff’s proffered reason. . .is correct. In other words, it is not enough . . . to disbelieve the

employer; the factfinder must believe the plaintiff’s explanation of intentional discrimination.”

(Internal quotations and citations omitted; Emphasis in original.) Reeves v. Sanderson

Plumbing Prods., 530 U.S. 133, 146-47 (2000), citing St. Mary’s Honor Center v. Hicks, 509

U. S. 502 (1993).

       The plaintiff has not offered any evidence suggesting that the reason for her

termination was disability discrimination. Indeed, she admitted at her deposition that neither

Dr. Smith nor Ms. Howell said or did anything to suggest that they were discriminating against

her. (Depo. Jo Lynn Wilson March 2016, at pp. 55-58.) Even assuming that the plaintiff’s

deposition testimony demonstrates that the defendant misapplied its policy, that would be

insufficient to prove that the defendant’s proffered reason is pretextual. Improper application

of a policy does not suggest, without more, that the real reason for the plaintiff’s termination

was discrimination based on her disability. See, Loi v. New York City Dep’t of Health and

Mental Hygiene, 914 F. Supp. 2d 567, 581-583 (S.D.N.Y. 2012); Jones v. Gov’t Emples. Ins.

Co., 2006 U.S. Dist. LEXIS 29277 *21-22 (E.D.N.Y. May 8, 2006). Since the plaintiff has not

produced any evidence suggesting that the reason for her termination was disability

discrimination, the defendant’s motion for summary judgment should be granted.




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                                         CONCLUSION

       For the foregoing reasons, as well as those stated in the Memorandum of Law in

Support of Defendant’s Motion for Summary Judgment, the defendant’s motion for summary

judgment should be granted.



                                                       THE DEFENDANT
                                                       YALE UNIVERSITY


                                                  BY:___/s/ Colleen Noonan Davis (#ct27773)

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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.


                                                       _______________/s/________________
                                                        Colleen Noonan Davis




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